                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                1:06 CR 250-15


UNITED STATES OF AMERICA,                        )
                                                 )
Vs.                                              )             ORDER
                                                 )
LYNWOOD EARL NEWBORN, JR.,                       )
                                                 )
                  Defendant.                     )
________________________________________         )


        THIS CAUSE coming on to be heard before the undersigned on December 27, 2006

for the purpose of conducting a Rule 11 inquiry. At the call of this matter on for hearing,

counsel for the defendant requested that the matter be continued so that he could conduct

further negotiations with the Government due to evidence regarding the defendant’s criminal

record that had been discovered by the defendant’s attorney. Donald Gast, the Assistant

United States Attorney representing the Government advised the undersigned that he had no

objection to the order continuing the Rule 11 proceeding.

                                        ORDER

        WHEREFORE, it is hereby ORDERED that the Rule 11 proceeding in this matter

be continued until January 4, 2007.


                                            Signed: January 8, 2007




      Case 1:06-cr-00250-MR-WCM       Document 238       Filed 01/09/07    Page 1 of 1
